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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

TIMBERLY MYGATT,                              )
                                              )
         Plaintiff,                           )
                                              )
vs.                                           )       Case No.
                                              )
MEDICREDIT, INC.,                             )       JURY TRIAL DEMANDED
                                              )
         Defendant.                           )

                                    NOTICE OF REMOVAL

         Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

         1.      Medicredit is named as defendant in Civil Action No. 15JE-CC00857 filed in the

Circuit Court of Jefferson County, Missouri, styled Timberly Mygatt v. Medicredit, Inc. (the

“State Court Action”).

         2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of Jefferson County on or about November 30, 2015. Pursuant to 28 U.S.C. § 1446(a),

copies of all process, pleadings and orders served upon Defendant in the State Court Action are

attached hereto as Exhibit A.

         3.      In the State Court Action, Plaintiff alleges that Defendant violated a federal

statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

         4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

         5.      Under 28 U.S.C. § 1331 this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claims.


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        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on December 2,

2015. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court of Jefferson County, Missouri, to the United States

District Court for the Eastern District of Missouri.

        DATED this 30th day of December, 2015.

                                                  Respectfully submitted,
                                                  SPENCER FANE LLP

                                              By: /s/ Ryan C. Hardy
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                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, this 30th day of December, 2015, with a
true copy mailed, first class postage prepaid, to:
       Richard A. Voytas, Jr.
       Alexander J. Cornwell
       Voytas & Company
       1 North Taylor Ave.
       St. Louis, MO 63108
       Attorneys for Plaintiff
                                                     /s/ Ryan C. Hardy




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